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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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 8
      UNITED STATES OF AMERICA,
 9
                                  Plaintiff,                  No. CR02-162L
10
      v.
11
                                                               ORDER ON LIMITED REMAND
      EDGAR WILLIAM ARTEAGA-GIRON
12
                                  Defendant.
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            This matter comes before the Court as a result of a LIMITED REMAND of the Ninth
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     Circuit Court of Appeals pursuant to United States v. Ameline, 409 F.3d 1073 (9th Cir.
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     2005) (en banc). In accord with the limited remand procedures adopted in United States v.
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     Ameline, each party may file a supplemental pleading addressing the sole question of
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     whether the Court’s sentencing decision “would have been materially different had the Judge
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     been aware that the Guidelines were advisory.” Ameline, 409 F.3d at 1079. The parties
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     shall limit their supplemental pleadings to information available as of the original sentencing
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     date and such pleadings, not to exceed 10 pages, shall be filed by November 23, 2005. In the
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     supplemental pleadings, the parties are permitted to advance sentencing arguments
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     previously barred or deemed “not ordinarily relevant” under pre-Booker guideline analysis.
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     See United States v. Booker, 125 S. Ct. 738 (2005). Counsel should be mindful that the
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 1   question at this point is not whether the defendant should have received a different sentence.
 2   Those questions may be addressed if a resentencing is ordered.
 3          If the Court determines that resentencing is warranted, the Court will vacate the
 4   sentence and schedule a new sentencing hearing with the defendant present. If the Court
 5   concludes that the sentencing decision would not have been materially different, the Court
 6   will enter an order denying resentencing with an appropriate explanation.
 7          The Clerk is directed to note the consideration of the LIMITED REMAND on the
 8   Court’s motion calendar for November 23, 2005.
 9          IT IS SO ORDERED.
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11          DATED this 2nd day of November, 2005.
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                                                      A
                                                      Robert S. Lasnik
                                                      United States District Judge
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     ORDER ON LIMITED REMAND
